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         Exhibit 39
6/16/2017                   BatteryPark.TV efforts directly cause BPCA to allow public comments at meetings | BatteryPark.TV We Inform
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    BatteryPark.TV We Inform



    BatteryPark.TV efforts directly cause BPCA to allow public comments at meetings
    Posted on November 9, 2016 by Editor

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       Tweet




    October 19, 2016­ by Steven E. Greer, MD

    As viewers know, BP.TV has been the only local news source to have the freedom to provide proper oversight to
    BPCA. For examples, we obtained a federal court order forcing the BPCA to allow us into the open board meetings
    when they attempted to block us,  and our federal lawsuit over violation of our First Amendment rights is
    proceeding to jury trial.

    Also, we have called for the BPCA to hold press conferences and allow public comment. BP.TV has been the only
    reporter willing to ask questions at BPCA meetings. State Senator Squadron spotted this as a winning cause for
    which he crusaded.

    Today, it was announced that public comments will be allowed at board meetings. Also, the agenda items will be
    released in advance. The BPCA had been illegally releasing them just minutes before the meetings to discourage
    attendance.

    People wishing to speak need to email the BPCA in advance boardcomment@bpca.ny.gov. Two­minutes will be
    allotted to up to 10­speakers.

http://batterypark.tv/neighborhoods/bpca/batterypark­tv­efforts­directly­cause­bpca­to­allow­public­comments­at­meetings.html            1/2
6/16/2017                    BatteryPark.TV efforts directly cause BPCA to allow public comments at meetings | BatteryPark.TV We Inform
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    State Senator Squadron, while his actions are commendable, was merely riding on the shoulders of BP.TV.

    We inform.

    This entry was posted in ­ City government, ­ Downtown oversight, ­ Federal government, ­ Politics, ­ State Government, Accomplishments, Battery Park City and BPCA.
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